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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Fiammette Garcia,                           )
                                            )
        Plaintiff,                          )
                                            )
        v.                                  )      No.    16 C 9148
                                            )
Client Services, Inc., a Missouri           )
corporation,                                )
                                            )
        Defendant.                          )      Jury Demanded

                                         COMPLAINT

        Plaintiff, Fiammette Garcia, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages, and alleges:

                                JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

        2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                           PARTIES

        3.      Plaintiff, Fiammette Garcia (“Garcia”), is a citizen of the State of Texas,

from whom Defendant attempted to collect a delinquent consumer debt that she

allegedly owed for a Macy’s credit card, despite the fact that she had exercised her

rights, pursuant to the FDCPA, to refuse to pay the debt and to be represented by the

legal aid attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and

People with Disabilities program ("LASPD"), located in Chicago, Illinois.
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       4.      Defendant, Client Services, Inc. (“Client Services"), is a Missouri

corporation, that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect, directly

or indirectly, delinquent consumer debts. Client Services operates a nationwide

delinquent debt collection business, and attempts to collect debts from consumers in

virtually every state, including consumers in the State of Illinois. In fact, Defendant

Client Services was acting as a debt collector, as that term is defined in the FDCPA, as

to the delinquent consumer debts it attempted to collect from Plaintiff.

       5.      Defendant Client Services is authorized to conduct business in the State

of Illinois and maintains a registered agent within the State of Illinois, see, record from

the Illinois Secretary of State, attached at Exhibit A. In fact, Defendant conducts

business in Illinois.

       6.      Defendant Client Services is licensed as a debt collection agency in the

State of Illinois, see, record from the Illinois Department of Professional Regulation,

attached at Exhibit B. In fact, Defendant acts as a collection agency in Illinois.

                                FACTUAL ALLEGATIONS

       7.      Ms. Garcia is a senior citizen, with limited assets and income, who fell

behind on paying her bills, including a debt she allegedly owed for a Macy’s credit card.

When Client Services began trying to collect this debt from Ms. Garcia, by sending her a

collection letter, dated August 3, 2016, she sought the assistance of the legal aid

attorneys at the Chicago Legal Clinic’s LASPD program regarding Client Services’

collection actions. A copy of this letter is attached at Exhibit C.

       8.      On August 11, 2016, one of Ms. Garcia's attorneys at LASPD informed



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Client Services, in writing, that Ms. Garcia was represented by counsel, and directed

Client Services to cease contacting her, and to cease all further collection activities

because Ms. Garcia was forced, by her financial circumstances, to refuse to pay her

unsecured debts. Copies of this letter and the fax confirmation and are attached at

Exhibit D.

       9.     Nonetheless, Defendant Client Services called Ms. Garcia directly,

including, but not limited to telephone calls on August 22, 2016 and August 23, 2016,

from telephone number 913-971-0327 demanding payment of the Macy’s debt.

       10.    Accordingly, on August 29, 2016 one of Ms. Garcia’s LASPD attorneys

had to write to Defendant Client Services to demand, yet again, that it cease

communications and cease collection of the debt. Copies of this letter and the fax

confirmation are attached at Exhibit E.

       11.    Defendant’s violations of the FDCPA were material because, although

Plaintiff had been informed by counsel and believed that she had the right to refuse to

pay this debt and to demand the collection communications cease, Defendant’s

continued collection communications made Plaintiff believe that her demand had been

futile and that she did not have the rights Congress had granted her under the FDCPA.

       12.    Moreover, violations of the FDCPA which would lead a consumer to alter

his or her course of action as to whether to pay a debt, or which would be a factor in the

consumer's decision making process, are material, see, Lox v. CDA, 689 F.3d 818, 827

(7th Cir. 2012). Here, Defendant’s actions caused Plaintiff to question whether she was

still represented by counsel as to this debt, which caused stress and confusion as to

whether she was required to pay the debt at issue.



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      13.    Defendant Client Services’ collection actions complained of herein

occurred within one year of the date of this Complaint.

      14.    Defendant Client Services’ collection communications are to be

interpreted under the “unsophisticated consumer” standard. See, Gammon v. GC

Services, Ltd. Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

      15.    Plaintiff adopts and realleges ¶¶ 1-14.

      16.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      17.    Here, the letter from Ms. Garcia’s agent/attorney, LASPD, told Defendant

Client Services to cease communications and cease collections (Exhibit D). By

continuing to communicate regarding this debt and demanding payment, Defendant

Client Services violated § 1692c(c) of the FDCPA.

      18.    Defendant Client Services’ violations of § 1692c(c) of the FDCPA render it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      19.    Plaintiff adopts and realleges ¶¶ 1-14.

      20.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from



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communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debts and has knowledge of, or can

readily ascertain such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      21.    Defendant Client Services knew that Ms. Garcia was represented by

counsel in connection with her debts because her attorneys at LASPD had informed

Defendant, in writing (Exhibit D), that she was represented by counsel, and had directed

Defendant Client Services to cease directly communicating with her. By directly calling

Ms. Garcia, despite being advised that she was represented by counsel, Defendant

Client Services violated § 1692c(a)(2) of the FDCPA.

      22.    Defendant Client Services’ violations of § 1692c(a)(2) of the FDCPA

render it liable for actual and statutory damages, costs, and reasonable attorneys’ fees.

See, 15 U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Fiammette Garcia, prays that this Court:

      1.     Find that Defendant Client Services’ debt collection actions violated the

FDCPA;

      2.     Enter judgment in favor of Plaintiff Garcia, and against Defendant Client

Services, for actual and statutory damages, costs, and reasonable attorneys’ fees as

provided by § 1692k(a) of the FDCPA; and,

      3.     Grant such further relief as deemed just.

                                    JURY DEMAND

      Plaintiff, Fiammette Garcia, demands trial by jury.




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                                                     Fiammette Garcia,

                                                     By: /s/ David J. Philipps______
                                                     One of Plaintiff’s Attorneys

Dated: September 22, 2016

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